                                       Case 4:22-md-03047-YGR           Document 1851         Filed 04/08/25      Page 1 of 1




                                   1                               UNITED STATES DISTRICT COURT

                                   2                            NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4     IN RE: SOCIAL MEDIA ADOLESCENT                     Case No. 22-md-3047-YGR
                                         ADDICTION/PERSONAL INJURY
                                   5                                                        MDL No. 3047
                                         PRODUCTS LIABILITY LITIGATION
                                   6

                                   7     This Document Relates to:                          ORDER FOR FURTHER BRIEFING ON
                                                                                            REMAND
                                   8            Hartford Casualty Insurance
                                                Company et al. v. Instagram, LLC et
                                   9            al., No. 1:24-cv-01422 (D. Del.)

                                  10

                                  11

                                  12   TO ALL PARTIES AND COUNSEL OF RECORD:
Northern District of California
 United States District Court




                                  13          In light of the Judicial Panel of Multidistrict Litigation’s (JPML’s) order transferring

                                  14   Hartford Casualty Insurance Company et al. v. Instagram, LLC et al., No. 1:24-cv-01422

                                  15   (D. Del.) to this MDL, the parties shall file simultaneous briefs on April 14, 2025 that supplement

                                  16   their remand briefing before the Delaware District Court and explain any differences in the law of

                                  17   remand between the Third and Ninth Circuits. The supplemental brief shall not exceed four pages.

                                  18

                                  19          IT IS SO ORDERED.

                                  20

                                  21   Dated: April 8, 2025

                                  22                                                   ______________________________________
                                                                                               YVONNE GONZALEZ ROGERS
                                  23                                                          UNITED STATES DISTRICT JUDGE

                                  24

                                  25

                                  26

                                  27

                                  28
